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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

THOMAS H. FUTCH,                       )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
MGS VENTURE LLC,                       )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, THOMAS H. FUTCH, by and through the undersigned

counsel, and files this, his Complaint against Defendant MGS VENTURE LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                     PARTIES

       3.     Plaintiff THOMAS H. FUTCH (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Powder

Springs, Georgia (Cobb County).

       4.     Plaintiff is a paraplegic and is disabled as defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking and standing.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant MGS VENTURE LLC (hereinafter “Defendant”) is a

Georgia limited liability company, and transacts business in the state of Georgia

and within this judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Steven M. Mills, 1550 North Brown Road, Suite 130,

Lawrenceville, Georgia, 30309.

                            FACTUAL ALLEGATIONS

       9.     On or about April 20, 2021, Plaintiff was a customer at “Mystik,” a

business located at 2954 Veterans Memorial Highway, S.W., Austell, Georgia


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30168.

      10.    Defendant is the owner or co-owner of the real property and

improvements that are the subject of this action. (The contiguous structures and

improvements situated upon said real property shall be referenced herein as the

“Facility,” and said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately five (5) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business(es) located at 2954 Veterans

Memorial Highway, S.W., Austell, Georgia 30168 (Cobb County Property

Appraiser’s parcel number 18014100390), and/or full and equal enjoyment of the

goods,    services,   foods,   drinks,   facilities,   privileges,   advantages   and/or

accommodations offered therein were denied and/or limited because of his

disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the

ADA violations that exist at the Facility and Property, including those set forth in

this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


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      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to his access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

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regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in his capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


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conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the future as

a customer and as an advocate for the disabled in order to utilize all of the goods,

services, facilities, privileges, advantages and/or accommodations commonly

offered at the Facility and Property, but will be unable to fully do so because of his

disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Facility and Property that preclude and/or limit his

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,

conditions and ADA violations more specifically set forth in this Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying his access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically

set forth herein, and make the Facility and Property accessible to and usable by


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Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     There are no disabled accessible parking spaces on the Property

              that comply with section 502 of the 2010 ADAAG standards, in

              violation of section 208 of the 2010 ADAAG standards.

      (ii)    In the alternative to Paragraph 30(a)(i), the accessible parking

              space on the Property is missing signage, is inadequately

              marked and does not have an adjacent access aisle, in violation

              of sections 208.2, 502.1, 502.3 and 502.6 of the 2010 ADAAG

              standards.

      (iii)   The accessible ramp on the Property is situated before a

              standard parking space, and thus the ramp is obstructed when

              vehicles are parked in such standard space, resulting in the

              ramp’s width being less than 36” (thirty-six inches), in violation


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       of sections 403.5.1 and 502.7 of the 2010 ADAAG standards.

(iv)   There is an excessive vertical rise at the base of the accessible

       ramp on the Property, in violation of section 405.7 of the 2010

       ADAAG standards.

(v)    The accessible ramp on the Property also has a slope exceeding

       1:10 (one to ten), in violation of section 405.2 of the 2010

       ADAAG standards.

(vi)   The Property lacks an accessible route connecting accessible

       facilities, accessible elements and accessible tenant spaces of

       the Facility, in violation of section 206.2.2 of the 2010 ADAAG

       standards.

(vii) The operable parts on the fuel dispensers on the Property are at

       a height exceeding 54” (fifty-four inches) from the surface of

       the vehicular way, in violation of section 308.3.1 of the 2010

       ADAAG standards.

(b)    INTERIOR ELEMENTS:

(i)    The interior of the Facility has sales and services counters

       lacking any portion of which that has a maximum height of 36”

       (thirty-six inches) from the finished floor, in violation of


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        section 904.4 of the 2010 ADAAG standards.

(ii)    The entrance to the restroom in the Facility does not provide for

        permissible minimum maneuvering clearance, in violation of

        section 404.2.4 of the 2010 ADAAG standards.

(iii)   The doors to the restroom in the Facility have a minimum clear

        width less than 32” (thirty-two inches), in violation of section

        404.2.3 of the 2010 ADAAG standards.

(iv)    The centerline of the commode in the restroom in the Facility is

        positioned more than 18” (eighteen inches) from the sidewall or

        partition, in violation of section 604.2 of the 2010 ADAAG

        standards.

(v)     The restroom in the Facility does not have grab bars adjacent to

        the commode therein, in violation of section 604.5 of the 2010

        ADAAG standards.

(vi)    The lavatories and/or sinks in the restrooms in the Facility have

        exposed pipes and surfaces that are not insulated or configured

        to protect against contact with the skin, in violation of section

        606.5 of the 2010 ADAAG standards.

(vii) The restrooms lack adequate turning space, in violation of


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             sections 304.3.1 and 304.3.2 of the 2010 ADAAG standards.

      31.    The Property has not been adequately maintained in operable working

condition for those features of facilities and equipment that are required to be

readily accessible to and usable by persons with disabilities in violation of section

28 C.F.R. § 36.211.

      32.    Without limitation, the above-described violations of the ADAAG

made it more difficult for Plaintiff to find and utilize a disabled accessible parking

space on the Property, more difficult and dangerous for Plaintiff to traverse the

ramp servicing the property, more difficult for Plaintiff to conduct his business

while inside the Facility, and rendered the restroom in the Facility completely

inaccessible to Plaintiff.

      33.    The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

      34.    Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

      35.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried


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out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

      36.    All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

      37.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

      38.    Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because Defendant has the financial resources to make the necessary

modifications.

      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that he will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.


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      41.   Plaintiff’s requested relief serves the public interest.

      42.   The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing

Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable


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             in light of the circumstances.

                                       Dated: May 12, 2021.

                                       Respectfully submitted,

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich
                                       Georgia Bar No. 242240
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                       /s/Craig J. Ehrlich
                                       Craig J. Ehrlich




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